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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    ORLANDO GARCIA,                                     Case No. 21-cv-04579-JST
                                                         Plaintiff,
                                   8
                                                 v.                                         ORDER OF DISMISSAL UPON
                                   9                                                        SETTLEMENT
                                  10    MELVIN DAGOVITZ, et al.,                            Re: ECF No. 13
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff has filed a notice of settlement. ECF No. 13. Accordingly, any scheduled

                                  14   hearings or deadlines are vacated, and this matter is dismissed with prejudice. The Clerk shall

                                  15   close the file.

                                  16           This order will be vacated if any party, after meeting and conferring with opposing parties,

                                  17   files a notice that settlement has not occurred within 60 days of the date of this order.

                                  18           IT IS SO ORDERED.

                                  19   Dated: September 29, 2021
                                                                                        _______________________________________
                                  20                                                                   JON S. TIGAR
                                  21                                                             United States District Judge

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